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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re
                                                               Chapter 11

    Lordstown Motors Corp., et al.,1                           Case No. 23-10831 (MFW)

                                                               (Jointly Administered)
                                          Debtors.

                                                               Re: D.I. 467


              ORDER (I) APPROVING THE DISCLOSURE STATEMENT
            AND THE FORM AND MANNER OF NOTICE, (II) APPROVING
         PLAN SOLICITATION AND VOTING PROCEDURES, (III) APPROVING
       FORMS OF BALLOTS, (IV) APPROVING FORM, MANNER, AND SCOPE OF
       CONFIRMATION NOTICES, (V) ESTABLISHING CERTAIN DEADLINES IN
       CONNECTION WITH APPROVAL OF THE DISCLOSURE STATEMENT AND
        CONFIRMATION OF THE PLAN, AND (VI) GRANTING RELATED RELIEF

            Upon the motion (the “Motion”)2 of the Debtors for entry of an order (this “Disclosure

Statement Order”), pursuant to sections 105(a), 502, 1125, 1126, and 1128 of the Bankruptcy

Code, Bankruptcy Rules 2002, 3003, 3016, 3017, 3018, 3020, 9006, and 9008, and Local Rules

2002, 3017-1, and 9006-1, (i) approving the Disclosure Statement Pursuant to 11 U.S.C. § 1125

with Respect to Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and

Its Affiliated Debtors (together with all schedules and exhibits thereto, and as may be modified,

amended, or supplemented from time to time, the “Disclosure Statement”) and the form and

manner of notice; (ii) approving procedures for soliciting, receiving, and tabulating votes on the

Plan and for filing objections to the Plan (the “Solicitation Procedures”); (iii) approving the forms



1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Motion,
      the Disclosure Statement, or the Plan, as applicable.
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of ballots; (iv) approving the form, manner and scope of confirmation notices; (v) establishing

certain deadlines in connection with approval of the Disclosure Statement and confirmation of the

Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated

Debtors (as may be modified, amended, or supplemented from time to time, the “Plan”);3 and (vi)

granting related relief, all as more fully set forth in the Motion; and this Court having jurisdiction to

consider the Motion in accordance with 28 U.S.C. § 1334 and the Amended Standing Order of

Reference from the United States District Court for the District of Delaware, dated February 29,

2012; and the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

and the Debtors having consented to entry of a final order by this Court under Article III of the

United States Constitution; and the Court having found that venue of this proceeding and the

Motion in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and appropriate notice

of and opportunity for a hearing on the Motion having been given and no other or further notice

being necessary; and upon the record herein; and after due deliberation thereon; and the Court

having determined that the legal and factual bases set forth in the Motion establish just cause for

the relief granted herein; and after due deliberation and sufficient cause appearing therefor,

        IT IS HEREBY FOUND AND DETERMINED THAT:4

        A.       The Disclosure Statement contains “adequate information” regarding the Plan

within the meaning of section 1125 of the Bankruptcy Code. No further information is necessary

or required.

        B.       The Disclosure Statement complies with Bankruptcy Rule 3016(c) and describes,



3
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or
    the Disclosure Statement, as applicable.
4
    To the extent any of the following findings of fact constitute conclusions of law, they are adopted as such, and to
    the extent any of the following conclusions of law constitute findings of fact, they are adopted as such, pursuant
    to Bankruptcy Rules 7052 and 9014.

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in specific and conspicuous language, the acts to be enjoined and the entities subject to the

injunction, exculpation, and release provisions contained in the Plan, with such provision also

included in the Ballots and the Confirmation Hearing Notice.

        C.     Notice of the Disclosure Statement Hearing, provided in the manner described in

the Motion and the form of which was attached to the Motion as Exhibit B, was sufficient and

appropriate under the circumstances and complied with the applicable requirements of the

Bankruptcy Code, Bankruptcy Rules, and the Local Rules. No further notice is needed.

       D.      The Solicitation Procedures attached hereto as Exhibit 1 provide a fair and

equitable voting process and are consistent with section 1126 of the Bankruptcy Code and the

applicable Bankruptcy Rules.

       E.      The proposed distribution and contents of the Solicitation Packages and other

notices, as set forth in the Motion and the Solicitation Procedures, comply with Bankruptcy Rules

2002 and 3017 and constitute sufficient notice to all interested parties of the Voting Record Date,

the Voting Deadline, the Plan Objection Deadline, the Confirmation Hearing, the Plan, the

procedures described to solicit votes to accept or reject the Plan and related matters.

       F.      The Ballots, substantially in the forms attached hereto as Exhibits 2-1, 2-2, 2-3,

2-4, 2-5, 2-6, 2-7, and 2-8, including all instructions provided therein, (i) are sufficiently

consistent with Official Form No. B 314, (ii) adequately address the particular needs of these

Chapter 11 Cases, (iii) provide adequate information and instructions for each Holder of Claims

and Interests in the Voting Classes (Classes 3, 5, 7, 8, and 9) which are entitled to vote to accept

or reject the Plan; or, in the case of Class 5, from which provisional votes will be solicited out of

abundance of caution, notwithstanding that such Class is deemed to accept the Plan and (iv)

provide adequate means for the lead plaintiff in the Ohio Securities Class Action to elect (or



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reject) the treatment set forth in Class 10. No further information or instructions are necessary.

        G.      Pursuant to the Plan, the Holders of Claims and Interests in Class 3 (General

Unsecured Claims), Class 7 (Common Stock Interests), Class 8 (Section 510(b) Claims), and

Class 9 (RIDE Section 510(b) Claims) are impaired and entitled to receive distributions under

the Plan. Accordingly, Holders of Claims and Interests in such classes are entitled to vote on

account of such Claims and Interests. In addition, Holders of Interests in Class 5 (Foxconn

Preferred Stock Interests) are Unimpaired under the Plan and deemed to have accepted the Plan

pursuant to section 1126(f) of the Bankruptcy Code. Out of abundance of caution, however, the

Debtors are soliciting provisional votes from Holders of Interests in Class 5. Further, the lead

plaintiff in the Ohio Securities Class Action may elect, on behalf of himself and the putative class

in connection with the Ohio Securities Class Action, the treatment set forth in Class 10 and will

be sent a Class 10 ballot allowing it to do so. If such lead plaintiff elects the Class 10 treatment,

the Holders of Claims in Class 10 will be unimpaired and will be deemed to have accepted the

Plan pursuant to section 1126(f) of the Bankruptcy Code. If such lead plaintiff does not make

such election, the lead plaintiff in the Ohio Securities Class Action shall be entitled to cast a ballot

in Class 8. Putative class members in respect of the Ohio Securities Class Action shall be entitled

to vote in Class 8 regardless of whether the lead plaintiff in the Ohio Securities Class Action

timely elects the treatment in Class 10; provided, that such votes shall not be counted if the

treatment in Class 10 is approved at the Confirmation Hearing.

        H.      Pursuant to the Plan, Holders of Claims or Interests in Class 1 (Other Priority

Claims), Class 2 (Secured Claims), Class 4 (Intercompany Claims), and Class 6 (Intercompany

Interests) are Unimpaired and are conclusively presumed to have accepted the Plan pursuant to

section 1126(f) of the Bankruptcy Code and are not entitled to vote on the Plan on account of



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such Claims or Interests. Ballots need not be provided to Holders of Claims in the Non-Voting

Classes (i.e., Classes 1, 2, 4 and 6).

        I.      The combination of direct and published notice of the Plan and Confirmation

Hearing, including, without limitation, the Confirmation Hearing Notice (with such changes as

may be appropriate for purposes of publication, the “Publication Notice”), substantially in the

form attached hereto as Exhibit 3, provides due, proper, and sufficient notice of the Plan, the

Confirmation Hearing, and the opportunity to vote on and object to the Plan, complies with

Bankruptcy Rules 2002 and 3017 and Local Rule 9006-1, and satisfies the requirements of due

process with respect to all known and unknown creditors. No further notice is necessary or

required.

        J.      The form of the Notice of Non-Voting Status to Holders of Unclassified and

Unimpaired Claims and Interests Conclusively Presumed to Accept the Plan (the

“Unclassified/Unimpaired Non-Voting Status Notice”), substantially in the form attached

hereto as Exhibit 4, comply with the Bankruptcy Code, Bankruptcy Rule 3017(d), and applicable

Local Rules and, together with the Confirmation Hearing Notice, provide adequate notice to the

Holders of Claims and Interests in the Class 1 (Other Priority Claims), Class 2 (Secured Claims),

or other Holders of Claims or Interests that are otherwise deemed not entitled to vote to accept or

reject the Plan. Holders of Interests in Class 4 (Intercompany Claims) and Holders of Claims in

Class 6 (Intercompany Interests) will not receive an Unclassified/Unimpaired Non-Voting Status

Notice of their non-voting status. No further notice is necessary or required. Although Holders

of Interests in Class 5 (Foxconn Preferred Stock Interests) are Unimpaired and deemed to Accept

the Plan, such Holders will receive a Ballot, and provisional votes from such Holders will be

solicited. Further, the lead plaintiff in the Ohio Securities Class Action will receive a ballot



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allowing it to elect the treatment set forth in Class 10. No further notice is necessary or required.

       K.      The period during which the Debtors may solicit votes to accept or reject the Plan

is a reasonable and adequate period of time for the Voting Classes to make an informed decision

to accept or reject the Plan and timely return Ballots evidencing such decision.

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

Disclosure Statement

       2.      The Disclosure Statement is APPROVED as containing “adequate information”

within the meaning of section 1125(a) of the Bankruptcy Code.

       3.      All objections, if any, to the Disclosure Statement or relief requested in the Motion

that have not been withdrawn or resolved prior to or at the hearing to consider approval of the

Disclosure Statement are overruled.

       4.      The Disclosure Statement Hearing Notice and the manner of service thereof are

each APPROVED.

       5.      The Disclosure Statement (including all applicable exhibits thereto) provides

sufficient notice of the release, injunction, and exculpation provisions contained in Article VIII of

the Plan, in accordance with Bankruptcy Rule 3016(c).

Confirmation Hearing and Plan Confirmation Schedule

       6.        The following dates and deadlines in connection with the Solicitation Procedures

and the Confirmation Hearing are APPROVED:

                         Event                                              Date
   Voting Record Date                                    October 31, 2023
   Solicitation Date                                     Five (5) business days after the entry




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                                                         of the Disclosure Statement Order, or
                                                         as soon as reasonably practicable
                                                         thereafter
   Publication Deadline                                  Five (5) business days after the entry
                                                         of the Disclosure Statement Order, or
                                                         as soon as reasonably practicable
                                                         thereafter
   Rule 3018(a) Motion Deadline                           November 27, 2023 at 4:00 p.m. (ET)
   Voting Resolution Event Deadline                       December 5, 2023
   Plan Supplement Filing Deadline                        December 1, 2023 (The date that is no
                                                          later than seven (7) days prior to the
                                                          Plan Objection Deadline)
   Deadline to file proposed form of the                  The date that is no later than seven (7)
   Confirmation Order                                     days prior to the Plan Objection
                                                          Deadline
   Plan Objection Deadline                                December 8, 2023 at 4:00 p.m. (ET)
   Voting Deadline                                        December 12, 2023 at 5:00 p.m. (ET)
   Deadline to file (i) Reply to Plan Objections,         December 15, 2023
   (ii) Brief in Support of Plan Confirmation, (iii)
   Declarations in Support of Plan Confirmation,
   and (iv) Voting Report
   Confirmation Hearing                                   December 19, 2023 at 2:00 p.m. (ET)

       7.      The Confirmation Hearing shall be held on December 19, 2023, at 2:00 p.m.

(prevailing Eastern Time). The Confirmation Hearing may be adjourned or continued from

time to time by this Court or the Debtors without further notice other than as indicated in any

notice or agenda of matters scheduled for a particular hearing that is filed with this Court or by

being announced in open court.

Solicitation Packages

       8.      The proposed distribution and contents of the Solicitation Packages, which shall

include the following, are APPROVED:

               (a)    a Cover Letter, substantially in the form attached hereto as Exhibit 8,
                      describing the contents of the Solicitation Package and providing


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                       instructions to obtain access, free of charge and in multiple, optional
                       formats, to the Plan, Disclosure Statement, and this Disclosure Statement
                       Order, and urging the Holders of Claims and Interests in the Voting Classes
                       to vote to accept the Plan;

               (b)     the Confirmation Hearing Notice;

               (c)     the Disclosure Statement, with all exhibits that have been filed with the
                       Court before the Solicitation Date, including the Plan;

               (d)     the Disclosure Statement Order, including the Solicitation Procedures; and

               (e)     an applicable Ballot, substantially in the form attached hereto as Exhibits
                       2-1, 2-2, 2-3, 2-4, 2-5, 2-6, 2-7, and 2-8, with return instructions and a return
                       envelope, as applicable; and

               (f)     any other materials to be included as requested by the Court.

       9.      All contents of the Solicitation Package, including Ballots, shall be provided in

paper format, except the (i) Disclosure Statement with all exhibits (to the extent such exhibits are

filed with the Court before the Solicitation Date), including the Plan, and (ii) this Disclosure

Statement Order with including the Solicitation Procedures, which will be provided through

instructions in the Ballots. The Solicitation Package shall include instructions to obtain access,

free of charge, to the Plan, the Disclosure Statement, and the Disclosure Statement Order in

electronic format through the Debtors’ restructuring website all exhibits (to the extent such exhibits

are filed with the Court before the Solicitation Date).

       10.     The Solicitation Agent shall serve the Solicitation Package on the U.S. Trustee and

on each known Holder of a Claim or Interest in a Voting Class by first class mail, or by

international courier for each Holder of a Claim or Interest located outside of the United States, on

or before the Solicitation Date. Any party may request to receive a copy of any of the Solicitation

Package materials from the Solicitation Agent by telephone or by written request. Upon receipt

of a telephonic or written request, the Solicitation Agent shall provide such creditor the requested

materials at the Debtors’ expense as soon as reasonably practicable thereafter. The Debtors may


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substitute hard copies of all solicitation materials instead of electronic format as may be necessary

to achieve timely distribution of the Solicitation Packages or for any other reason.

       11.     The Debtors and the Solicitation Agent shall not be required to mail a Solicitation

Package or any other materials related to voting or confirmation of the Plan to any person or entity

from which the notice of the Motion or other mailed notice in these Chapter 11 Cases was returned

as undeliverable, or any similar reason, by the postal service, unless the Solicitation Agent is

provided with accurate addresses for such persons or entities before the Solicitation Date, and

failure to mail Solicitation Packages or any other materials related to voting or confirmation of the

Plan to such persons or entities shall not constitute inadequate notice of the Confirmation Hearing

or the Voting Deadline and shall not constitute a violation of Bankruptcy Rule 3017(d).

       12.     The Debtors shall distribute a copy of each of (i) the Confirmation Hearing Notice

and (ii) the applicable Unimpaired/Unclassified Non-Voting Status Notice and to the Holders of Claims

and Interests in Classes 1 and 2. The Debtors and Solicitation Agent shall not be required to mail

a Solicitation Package or any other materials related to voting or confirmation of the Plan to such

Holders, unless otherwise requested through the process set forth in the Unimpaired/Unclassified

Non-Voting Status Notice.

       13.     The Debtors are not required to distribute any notice to Holders of Class 4

(Intercompany Claims) and Class 6 (Intercompany Interests).

       14.      The Disputed Claim or Interest Notice, substantially in the form attached hereto

 as Exhibit 5 is hereby approved. The Debtors shall distribute a copy of the Confirmation

 Hearing Notice and Disputed Claim Notice to Holders of Claims and Interests that are subject

 to a pending objection by the Debtors as of the Solicitation Date other than a “reclassify” or

 “reduce and allow” objection. The Debtors and Solicitation Agent shall not be required to mail



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 a Solicitation Package or any other materials related to voting or confirmation of the Plan to

 such Holders unless a Resolution Event occurs, as provided in the Solicitation Procedures,

 provided, however, that if a Holder of a Disputed Claim or Interest files a Rule 3018(a) Motion

 by the Rule 3018(a) Motion Deadline, the Solicitation Agent, at the direction of the Debtors or

 their counsel, shall send such Holder a Solicitation Package, including an applicable Ballot as

 soon as practicable after such Rule 3018(a) Motion is filed. A Ballot returned by a Holder of a

 Disputed Claim or Interest to the Solicitation Agent in compliance with the Solicitation

 Procedures shall only be counted to the extent that a Voting Resolution Event has occurred with

 respect to the Holder’s Disputed Claim or Interest by the Voting Resolution Event Deadline.

        15.      If a Claim or Interest in a Voting Class is subject to an objection other than a

“reclassify” or “reduce and allow” objection that is filed with the Court after the Solicitation Date,

the applicable Claim or Interest shall be deemed temporarily allowed solely for voting purposes,

without further action by the Debtors or the Holder of such Claim or Interest and without further

order of the Court, unless the Court orders otherwise.

        16.      The Debtors shall file and serve the Plan Supplement Notice on the parties specified

on the Plan Supplement Notice on the date the Plan Supplement is filed, or as soon as possibly

reasonable thereafter.

Solicitation Procedures

        17.       The Solicitation Procedures attached hereto as Exhibit 1 are APPROVED in

 all respects.

        18.       The forms of Ballots attached hereto as Exhibits 2-1, 2-2, 2-3, 2-4, 2-5, 2-6, 2-7,

 and 2-8, respectively, are APPROVED in all respects.

        19.       Each Claim for which a Proof of Claim has been timely filed or scheduled on

 account of a claim, cause of action, or litigation claim, including without limitation, any

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purported class action, class suit, or similar representative action, Section 510(b) Claim, or RIDE

Section 510(b) Claim against the Debtors and which has not been fixed pursuant to a judgment

or settlement entered into and approved by a court of competent jurisdiction, including this

Court, prior to the Voting Record Date and reflects, in whole or in part, an unliquidated and/or

contingent claim that is not subject to a pending objection (regardless of whether such Claim as

described in Section IV.B.7(c) of the Solicitation Procedures is wholly or partially contingent or

non-contingent or liquidated or unliquidated) (each a “Litigation Claim” and collectively,

“Litigation Claims”), shall be allowed temporarily for voting purposes only and not for

purposes of allowance or distribution in the amount of $1.00 per such Holder. The temporary

allowance of a Litigation Claim in the amount of $1.00 is solely for voting purposes, and will

not be binding upon the Holder, the Debtors, or any other party for any purpose other than voting

on the Plan. Any Holder of a Litigation Claim that seeks different treatment for such Claim for

voting purposes is required to file a Rule 3018(a) Motion by the applicable Rule 3018(a) Motion

Deadline and otherwise satisfy the conditions set forth in Section III.C of the Solicitation

Procedures. In accordance with Bankruptcy Rule 3018, any Ballot submitted by a Holder of a

Litigation Claim that files a Rule 3018(a) Motion will be counted solely in accordance with the

Solicitation Procedures unless and until, after notice and a hearing, such Claim is temporarily

allowed by the Court for voting purposes only in a different amount.

      20.      In addition to the generally applicable voting and Ballot tabulation procedures

set forth in Section IV.D of the Solicitation Procedures, the following additional procedures will

apply to the voting of Interests held by beneficial Holders of Common Stock Interests in Class

7 (each a “Beneficial Holder”).

              a.      Within five (5) Business Days of the entry of this Disclosure Statement
                      Order, each of the agents under the applicable documents governing the


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                         Beneficial Holders’ Interests, (each an “Agent”) shall provide the
                         Solicitation Agent with (a) a copy of the list of the names, addresses and
                         holdings of any directly registered Beneficial Holders as of the Voting
                         Record Date in an electronic file and (b) such other information the
                         Solicitation Agent deems reasonable and necessary to perform its duties
                         pursuant to the Disclosure Statement Order. The Solicitation Agent shall
                         use such information only for purposes consistent with these Solicitation
                         Procedures and any order of the Court. In the alternative, such Agents shall
                         confirm to the Solicitation Agent that the applicable positions of the
                         Beneficial Holders are all held in “street name”.

                 b.      On the Solicitation Date, the Solicitation Agent shall distribute or cause to
                         be distributed (i) a Solicitation Package, including an applicable Ballot, to
                         all Entities that are directly registered Beneficial Holders as of the Voting
                         Record Date, and (ii) an appropriate number of Solicitation Packages,
                         including an appropriate number of applicable ballots, and a master ballot
                         (a “Master Ballot”) to each bank, broker, or other intermediary (each a
                         “Nominee”) identified to the Solicitation Agent as a Holder of record
                         through which one or more Beneficial Holders holds an Interest in ‘street
                         name’ as of the Voting Record Date. 5

                 c.      Each Nominee must distribute a Solicitation Package, including an
                         applicable Ballot, to each Beneficial Holder for which they hold the
                         applicable Interest or within five business days of receipt of such materials
                         from the Solicitation Agent in one of the following two ways (as selected
                         by the Nominee):

                         1. obtaining the votes of Beneficial Holders by (i) immediately distributing
                            the Solicitation Package, including Ballots, it receives from the
                            Solicitation Agent to all such Beneficial Holders, (ii) promptly
                            collecting Ballots from such Beneficial Holders that cast votes on the
                            Plan, (iii) compiling and validating the votes and other relevant
                            information of all such Beneficial Holders on the Master Ballot, and (iv)
                            transmitting the Master Ballot to the Solicitation Agent by the Voting
                            Deadline; or

                         2. distributing pre-validated Ballots pursuant to the following procedures:
                            (i) the Nominee shall forward to each Beneficial Holder as of the Voting
                            Record Date the Solicitation Package, an individual Ballot that has been
                            pre-validated, postage prepaid return envelope as indicated in sub-
                            paragraph (ii); (ii) to pre-validate a Ballot, the Nominee should
                            complete the first item and execute the Ballot and indicate on the Ballot
                            the name of the Nominee and DTC number, as applicable, the amount
                            of securities held by the Nominee for the Beneficial Holder, and the

5
    Nominees may use their ordinary and standard procedures to disseminate the voting materials (including use of
    their own voting form) as well as in the collection of votes and elections from their Beneficial Holders.

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                                account number for the account in which such securities are held by the
                                Nominee; and (iii) the Beneficial Holder shall complete and return the
                                pre-validated Ballot to the Solicitation Agent by the Voting Deadline.

                     d.     Any Nominee of an applicable Common Stock Interest holding such
                            securities both as record Holder and Beneficial Holder in its own name may
                            vote on the Plan by completing a Ballot or a Master Ballot and returning it
                            directly to the Solicitation Agent on or before the Voting Deadline.

                     e.     Any Agent appointed in respect of an applicable Common Stock Interest
                            will not be entitled to vote on behalf of the Beneficial Holder; rather, each
                            Beneficial Holder must vote his or her own Interest(s) in the manner set
                            forth herein.

          21.        Solely for the purpose of voting to accept or reject the Plan and not for purposes of

    the allowance of, or distribution on account of, a Claim or Interest, the following hierarchy shall

    be used to determine the amount of the Claim or Interest associated with each claimant’s or equity

    holder’s vote:

                     a.     the Claim or Interest amount (i) settled or agreed upon by the Debtors, as
                            memorialized in a document filed with the Court,6 (ii) set forth in an order
                            of the Court or (iii) set forth in a document executed by the Debtors pursuant
                            to authority granted by the Court;

                     b.     if subsection (a) does not apply, the Claim or Interest amount allowed
                            (temporarily or otherwise) pursuant to a Resolution Event under the
                            Solicitation Procedures;

                     c.     if none of subsections (a)–(b) apply, the Claim amount asserted in a Proof
                            of Claim that has been timely filed (or deemed timely filed by the Court
                            under applicable law), except for any amounts that have been paid or
                            asserted on account of any interest accrued after the Petition Date; provided,
                            that, any Ballot submitted by a Holder of a Claim who timely filed a Proof
                            of Claim in respect of (i) a contingent Claim or a Claim in a wholly-
                            unliquidated, unknown or undetermined amount (based on a reasonable
                            review by the Debtors) that is not the subject of an objection shall count
                            toward satisfying the numerosity requirement of section 1126(c) of the
                            Bankruptcy Code and shall count as a Ballot for a general unsecured Claim
                            in the amount of $1.00 solely for the purposes of voting and satisfying the
                            dollar amount requirement of section 1126(c) of the Bankruptcy Code, and
                            (ii) with respect to a non-contingent, partially liquidated and partially
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      For the avoidance of doubt, a holder of a Claim that is the subject of a pending objection on a “reclassify” or
      “reduce and allow” basis shall be entitled to vote such Claim in the reclassified priority or reduced amount
      contained in such objection absent a further order of the Court.

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                      unliquidated Claim, such Claim shall be allowed for voting purposes only
                      in the liquidated amount;

               d.     if none of subsections (a)–(c) apply, the Claim amount listed in the
                      Schedules (to the extent such Claim has not been superseded by a timely
                      filed Proof of Claim); provided that such Claim is not scheduled for $0.00
                      or as contingent, disputed, or unliquidated and has not been paid; provided,
                      further, that a Claim that is listed in the Schedules for $0.00 or as contingent,
                      unliquidated, or disputed and for which a Proof of Claim was not (i) filed
                      by the applicable Bar Date (as may have been extended by agreement of the
                      Debtors) or (ii) deemed timely filed by an order of the Court prior to the
                      Voting Deadline is not entitled to vote; and

               e.     if none of subsections (a)–(d) apply, such Claim or Interest shall be
                      disallowed for voting purposes.

       22.      In addition, the amount of Interests allowed to vote of Holders of Class 7

(Common Stock Interests) is based on the number of shares owned as reflected in the DTC’s

books and records as of the Voting Record Date, which Interests are not the subject of a pending

objection, other than a “reduce and allow” objection, filed with the Court by the Debtors at least

seven days prior to the Voting Deadline, pending a Resolution Event as provided herein; provided

that a Holder of an Interest that is the subject of a pending objection on a “reduce and allow”

basis shall receive a Solicitation Package and be entitled to vote such Interest in the reduced

amount contained in such objection absent a further order of the Court.

       23.      The amount of Claims for which proofs of claim have been filed allowed to vote

in respect of Holders of Class 8 (Section 510(b) Claims) and Class 9 (RIDE Section 510(b)

Claims) shall be allowed temporarily for voting purposes only and not for purposes of allowance

or distribution in the amount of One Dollar ($1.00) per such Holder. The temporary allowance

of a Section 510(b) Claim or RIDE Section 510(b) Claim in the amount of One Dollar ($1.00) is

solely for voting purposes, and will not be binding upon the Holder, the Debtors, or any other

party for any purpose other than voting on the Plan.




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       24.      Holders of Common Stock Interest who filed Class 1, 2, or 3 proofs of claim in

respect of such Common Stock Interest will not receive a Class 1, 2, or 3 Ballot, but rather a Class

7 Ballot through their Nominee, even if motions to reclassify their Interests are not filed. Holders

of Class 7 (Section 510(b) Claims) and Class 8 (RIDE Section 510(b) Claims) who filed Classes

1, 2, or 3 proofs of claim will not receive a Classes 1, 2, or 3 Ballot, but rather a Classes 8 or 9

Ballot, even if motions to reclassify their Claims are not filed. The lead plaintiff in respect of the

Ohio Securities Class Action will also receive a Class 10 Election ballot.

       25.      Notwithstanding anything to the contrary contained herein, any creditor who has

filed or purchased duplicate Claims within the same Voting Class shall be provided with only

one solicitation Package and one Ballot for voting a single Claim in such Class, regardless of

whether the Debtors have objected to such duplicate Claims. If a proof of claim has been

amended by a later proof of claim that is filed on or prior to the Voting Record Date, the later

filed amending claim shall be entitled to vote in a manner consistent with these tabulation rules,

and the earlier filed claim shall be disallowed for voting purposes, regardless of whether the

Debtors have objected to such amended claim.

       26.      As Solicitation Agent in these Chapter 11 Cases, KCC shall process and tabulate

Ballots in accordance with the Solicitation Procedures and file the Voting Report no later than

December 15, 2023, subject to any extension. As set forth in full in the Solicitation Procedures,

the following Ballots shall not be counted:

               a.      any Ballot submitted by a person who does not hold, or represent a person
                       that holds, a Claim or Interest in the applicable Voting Class as of the Voting
                       Record Date;

               b.      any Ballot received after the Voting Deadline unless the Debtors have
                       granted an extension in writing (including e-mail) with respect to such
                       Ballot. The Holder of a Claim or Interest may choose the method of
                       delivery of its Ballot to the Solicitation Agent at its own risk. Delivery of


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                       the Ballot shall be deemed made only when the original properly executed
                       Ballot is actually received by the Solicitation Agent;

               c.      any Ballot delivered by facsimile transmission, electronic mail (other than
                       a Master Ballot), or any other means not specifically approved herein,
                       provided that Ballots submitted through the E-Ballot Platform (defined
                       below) shall be counted;

               d.      any Ballot that is illegible or contains insufficient information to permit the
                       identification of the claimant or interest holder;

               e.      any Ballot that is submitted in an inappropriate form that is not the
                       appropriate Ballot for such Claim or Interest;

               f.      any Ballot sent to a person other than the Solicitation Agent;

               g.      any Ballot that is unsigned; provided, however, for the avoidance of doubt,
                       a Ballot submitted via the Solicitation Agent’s E-Ballot Platform shall be
                       deemed to contain an original signature;

               h.      a Ballot without a vote on the Plan or in which the claimant or interest holder
                       has voted to both accept and reject the Plan; or

               i.      any Ballot that is not completed.

Confirmation Notices and Objection Procedures

       27.     The form, manner, and scope of the Confirmation Hearing Notice (and Publication

Notice), the Unimpaired/Unclassified Non-Voting Status Notices, the Disputed Claim or Interest

Notice, the Plan Supplement Notice, the Cure and Assumption Notice, substantially in the forms

attached hereto as Exhibits 3, 4, 5, 6, 7, and 8, respectively, constitute good, sufficient, and

adequate notice to all parties, including known and unknown creditors, comply with the

requirements of due process, and are APPROVED. Such notices are being provided by means

reasonably calculated to reach all interested persons, reasonably convey all the required

information to inform all persons affected thereby, and provide a reasonable time for a response

and an opportunity to object to the relief requested. No other or further notice is necessary.

       28.     The Debtors shall not be required to deliver Ballots or Solicitation Packages to

counterparties to the Debtors’ Executory Contracts and Unexpired Leases that do not have

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scheduled Claims or Claims based upon filed Proofs of Claim. Rather, the Debtors are authorized

to mail the Cure and Assumption Notice to the applicable counterparties to Executory Contracts

and Unexpired Leases that will be assumed fourteen (14) days prior to the Confirmation Hearing.

Any objection by a counterparty to an executory contract or unexpired lease to the proposed

assumption, assumption and assignment, or related Cure Amount must be filed, served, and

actually received by the Debtors within ten (10) days of the service of the assumption notice, or

such shorter period as agreed to by the parties or authorized by the Court. Any counterparty to an

executory contract or unexpired lease that does not timely object to the notice of the proposed

assumption of such executory contract or unexpired lease shall be deemed to have assented to

assumption of the applicable executory contract or unexpired lease.

       29.     Notwithstanding anything else herein, the Debtors shall serve the Confirmation

Hearing Notice on: (a) the U.S. Trustee, (b) Foxconn, (c) the Internal Revenue Service, (d) the

Securities and Exchange Commission, (e) the United States Attorney for the District of Delaware,

(f) the state attorneys general for all states in which the Debtors conduct business; (g) any parties

who have asserted liens against the Debtors’ assets; (h) counsel to the Creditors’ Committee, (i)

counsel to the Equity Committee, (j) all Holders of Litigation Claims, (k) all known Holders of

Claims and Interests; and (l) any such other party entitled to receive notice pursuant to Bankruptcy

Rule 2002.

       30.     Objections and responses, if any, to confirmation of the Plan must (a) be in writing,

(b) set forth in detail the name and address of any party filing the objection and the nature, the

legal and factual basis for the objection, the amount of the objector’s Claim or Interest or such

other grounds that give the objector standing to assert the objection, and any evidentiary support

therefor, (c) provide proposed language that, if accepted and incorporated by the Debtors, would



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obviate such objection, (d) conform to the Bankruptcy Rules, the Local Rules, and any order of this

Court, (e) be filed with this Court, and (f) be served upon the parties listed in the Confirmation

Hearing Notice at the addresses set forth therein, on or before the Plan Objection Deadline, which

service may be through the CM/ECF system, with courtesy copies by email delivered to counsel

of the Debtors.

       31.        Objections to confirmation of the Plan not timely filed and served in accordance

with the provisions of this Disclosure Statement Order may not be considered by this Court.

       32.        The Debtors or other parties in interest may file and serve a reply or replies to any

objections or responses to confirmation of the Plan on or before December 15, 2023, subject to

any extension.

       Additional Relief

       33.         The Debtors are authorized to take any action necessary or appropriate to

implement the terms of and the relief granted in this Disclosure Statement Order without seeking

further order of this Court.

       34.         The Debtors are authorized, in consultation with the UCC and the EC, to make

non-substantive or immaterial changes to the Disclosure Statement, the Disclosure Statement

Order, the Plan, the Ballots, the Solicitation Procedures, the Solicitation Packages and all

documents provided therein, the Confirmation Hearing Notice, the Unimpaired/Unclassified Non-

Voting Status Notice, the Disputed Claim or Interest Notice, and related documents without

further order of this Court, including, without limitation, changes to correct typographical,

grammatical, and formatting errors or omissions, and to make conforming changes among the

Disclosure Statement, the Plan, and any other materials in the Solicitation Package before their

distribution, or modify the Publication Notice as necessary. To the extent any changes are made,

the Debtors will notify the U.S. Trustee of such changes.

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         35.     In addition to accepting hard copy Ballots via first class mail, overnight courier,

and hand delivery, the Debtors and the Solicitation Agent are authorized to accept Ballots from

voters via electronic, online transmissions, solely through a customized online balloting portal on

the Debtors’ case website to be maintained by the Solicitation Agent (the “E-Ballot Platform”)

and, with respect to Master Ballots, by email. Parties entitled to vote through the E-Ballot

Platform may cast an electronic Ballot and electronically sign and submit the Ballot instantly by

utilizing the E-Ballot Platform. Instructions for electronic, online transmission of Ballots are set

forth on the forms of Ballots. The encrypted ballot data and audit trail created by such electronic

submission shall become part of the record of any Ballot submitted in this manner and the

creditor’s electronic signature will be deemed to be immediately legally valid and effective.

         36.     Nothing in this Disclosure Statement Order shall be construed as a waiver of the

right of the Debtors or any other party in interest, as applicable, to object to a Proof of Claim after

the Voting Record Date.

         37.     Notwithstanding any applicable Bankruptcy Rule, the terms and conditions of

this Disclosure Statement Order shall be immediately effective and enforceable upon its entry.

         38.     This Court retains exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, and enforcement of this Disclosure Statement

Order.




Dated: November 1st, 2023                              MARY F. WALRATH
Wilmington, Delaware                                   UNITED STATES BANKRUPTCY JUDGE

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